Case 20-13137-amc                  Doc 60        Filed 06/17/22 Entered 06/17/22 14:23:57                                   Desc Main
                                                 Document     Page 1 of 2



                                     UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF PENNSYLVANIA

In RE: Gregg & Lauren Holden                                                : Case No: 20-13137
                                                                            :
                                                                            :
                                                      Debtors               : Chapter 13
:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
                                  NOTICE OF MOTION, RESPONSE DEADLINE
                                                    AND HEARING DATE

       Movant, has filed a Motion to Modify Debtor’s Chapter 13 Plan Post-Confirmation
with the Court. YOUR rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult an attorney.)

        1. If you do not want the Court to grant the relief sought in the motion or if you want the
court to consider your views on the motion, then on or before July 15, 2022 you or your attorney
must do all of the following:

                     (a) file an answer explaining your position at:

                                United States Bankruptcy Court
                                900 Market Street, Suite 400
                                Philadelphia, PA 19107-4299

      If you mail your answer to the Bankruptcy Clerk’s office for filing, you must mail it early
enough so that it will be received on or before the date stated above; and

                     (b) mail a copy to the Movant’s attorney:

                                Jeanne Marie Cella, Esquire
                                Jeanne Marie Cella and Associates, LLC
                                215 N Olive St
                                Media, PA 19063-0168
                                Email: paralegal@lawjmc.com

2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above
and attend the hearing, the court may enter an order granting the relief requested in the motion.


3.     A hearing on the motion is scheduled to be held before the Honorable Ashely M Chan
on July 20, 2022, at 10:00 a.m. in Courtroom No. 4, United States Bankruptcy Court,
Robert N.C. Nix Federal Courthouse, 900 Market Street, Philadelphia, PA 19107. Unless
the court orders otherwise, the hearing on this contested matter will be an evidentiary hearing at
which witnesses may testify with respect to disputed material factual issues in the manner
Case 20-13137-amc       Doc 60    Filed 06/17/22 Entered 06/17/22 14:23:57             Desc Main
                                  Document     Page 2 of 2



directed by Fed. R. Bankr. P. 9014(d).

4.     If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
you request a copy from the attorney named in paragraph 1(b).

5.     You may contact the Bankruptcy Clerk’s office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.


Date: June 17, 2022
